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                                            8                     UNITED STATES DISTRICT COURT
                                            9                   CENTRAL DISTRICT OF CALIFORNIA
                                           10
LEE, HONG, DEGERMAN, KANG & WAIMEY




                                           11   U.S. MARINE SURVEYORS, INC., a          CASE NO.: 2:16-cv-05360-PA- FFM
   660 South Figueroa Street, Suite 2300




                                           12   California corporation, et al.,
       Los Angeles, California 90017




                                           13              Plaintiffs,                  COUNTER-DEFENDANTS U.S.
                                           14                                           MARINE SURVEYORS, INC., U.S.
                                                vs.                                     VESSEL DOCUMENTATION,
                                           15                                           WEBSITES DEPOT, INC. AND
                                           16   EDWARD RIENER, an individual, et        JOHN SORIA’S MEMORANDUM
                                                al.,                                    OF POINTS AND AUTHORITIES
                                           17                                           IN SUPPORT OF MOTION FOR
                                           18              Defendants.                  SUMMARY JUDGMENT

                                           19
                                           20   EDWARD RIENER, an individual, et
                                                al,
                                           21

                                           22              Counter-Claimant
                                           23   vs.
                                           24
                                                U.S. MARINE SURVEYORS, INC., a
                                           25
                                                California corporation, et al.,
                                           26
                                                           Counter -Defendants.
                                           27
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                                                                            Interference with Prospective Economic Advantage, and
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                                                                              iii
                                                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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                                            1
                                                            MEMORANDUM OF POINTS AND AUTHORITIES
                                            2

                                            3   I.    INTRODUCTION
                                            4         Without a scintilla of evidence to support his claims, Counterclaimant
                                            5   Edward Riener (“Riener”) claims sole ownership of the copyright of the
                                            6   usvesseldocumentation.us website, and ownership in the business of U.S. Vessel
                                            7   Documentation (and that he is therefore entitled to profits from the same). Riener
                                            8   also asserts, without absolutely any supporting basis, that he is somehow entitled
                                            9   to a piece of Counter-defendant John Soria’s U.S. Vessel Documentation
                                           10   (“USVD”) business due to a purported oral promise made by John Soria (the
                                                principal of USVD) to make Riener a “partner” in Counter-defendants’ vessel
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                                           12   documentation business.     All of Riener’s causes of actions set forth in his
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                                           13   counterclaim (Doc. No. 33) fail, and Counter-defendants respectfully request that
                                           14   the Court grant summary judgment in their favor on all counterclaims.
                                           15   II.   ARGUMENT
                                           16         A.    Summary Judgment Standard
                                           17         Summary judgment is appropriate if there is no genuine issue as to any
                                           18   material fact and the moving party is entitled to judgment as a matter of law. See
                                           19   Fed. R. Civ. P. 56(a). The moving party bears the initial burden of establishing
                                           20   there is no genuine issue of material fact. See, e.g., Anderson v. Liberty Lobby,
                                           21   Inc., 477 U.S. 242, 248 (1986); Celotex Corp. v. Catrett, 477 U.S. 317, 322
                                           22   (1986). To defeat the motion for summary judgment, the responding party must
                                           23   present admissible evidence sufficient to establish any of the elements that are
                                           24   essential to the moving party’s case and for which that party will bear the burden
                                           25   of proof at trial. See id.; Taylor v. List, 880 F. 2d 1040, 1045 (9th Cir. 1989).
                                           26         The Court may grant summary judgment if the motion and supporting
                                           27   materials, including the facts considered undisputed, show the movant is entitled
                                           28   to summary judgment and if the responding party fails to properly address the

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                                                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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                                            1   moving party’s assertion of fact as required by Rule 56(c). See Fed. R. Civ. P.
                                            2   56(e).
                                            3            The responding party cannot point to mere allegations or denials contained
                                            4   in the pleadings. It is not enough for the non-moving party to produce a mere
                                            5   “scintilla” of evidence. Celotex Corp., at 252. Instead, the responding party must
                                            6   set forth, by affidavit or other admissible evidence, specific facts demonstrating
                                            7   the existence of an actual issue for trial. See KRL v. Moore, 384 F. 3d 1105, 1110
                                            8   (9th Cir. 2004).
                                            9            B.    Counter-defendants are entitled to Summary Judgment on All of
                                                               Riener’s Counterclaims
                                           10

                                                                     Riener’s Claims for Breach of Contract, Fraud –
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                                                                     Intentional Misrepresentation, and Declaratory Relief re:
                                           12                        Existence of Partnership all Fail (First, Second and Fifth
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                                                                     Claims for Relief)
                                           13

                                           14            Riener asserts that “[a]s consideration for developing the Second Website
                                           15   [vesseldocumentation.us], Soria represented to Riener that he would make him a
                                           16   ‘partner’ in USVD, and that the both of them would make ‘millions of dollars’
                                           17   together once the Second Website was up and running.” (Doc. No. 33, ¶ 19).
                                           18   This conclusory allegation fails to make out any legally cognizable claim for
                                           19   relief under these three causes of action. Furthermore, Riener’s claim is plainly
                                           20   contradicted by the evidence adduced in this action to date – particularly his own
                                           21   deposition testimony. This evidence definitively establishes that the parties did
                                           22   not enter into any partnership agreement or agree to provide Riener with an
                                           23   ownership interest in counter-defendants’ company, and likewise, that counter-
                                           24   defendants made no actionable representation regarding such. Thus Riener is not
                                           25   entitled to relief on his First, Second and Fifth Claims for Relief.
                                           26            First, and most importantly, in his deposition, Riener never articulated any
                                           27   terms of such a contract, and merely mentioned that he and Mr. Soria merely
                                           28   “talked about a partnership” but he could not particularize anything further. See

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                                                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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                                            1   Second Decl. of David Makous (“Second Makous Dec.”), ¶ 6.A, p. 3 lines 14-17
                                            2   (Doc. No. 28-3, p. 3; Doc. 28-4, p. 57, lns. 9-14 (“ . . . we had talked about a
                                            3   partnership to where I would build websites and I would help build the websites
                                            4   more and do further things. And besides sending me leads, I would get paid and
                                            5   compensated for that. He had promised millions of dollars . . ..”).
                                            6           Secondly, Riener always acted inconsistent with having an ownership
                                            7   interest in counter-defendants’ business.            Riener did not claim he was a
                                            8   shareholder of Counter-defendants, and he had no agreement to a specific share
                                            9   of their revenues. See id., ¶¶ 6.D.5 and 6.D.6 (Doc. No. 28-3, p. 5; Doc. No. 28-
                                           10   4, pp. 48-49, lns. 17-25, 1 (“Q: Did you have a shareholder interest in either U.S.
                                                Marine Surveyor or U.S. Vessel Documentation? . . . .A: I don’t know if I was a
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                                           12   shareholder”).     In the same vein, he placed USVD’s name on the Google for
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                                           13   Work as the named account holder. See Second Makous Dec., ¶ 6.I, p. 9, lines 3-
                                           14   6 (Doc. No. 28-3, p. 9). Riener’s admissions indicate that he was at most a part-
                                           15   time employee and/or agent of Counter-defendants who had no participation in
                                           16   directing or managing Counter-defendants’ business. See id., ¶¶ 6.D, pp. 5-6 and
                                           17   6.I, pp. 8-9 (Doc. No. 28-3, pp. 5-6; pp. 8-9).1
                                           18           Third, Riener was only a part-time marginal agent hired by counter-
                                           19   defendants. See Second Soria Dec., ¶ 28 (Doc. No. 28-1, p. 10).                  He did not
                                           20   process documentation, did not interact with customers, and in fact had no
                                           21   experience in documentation until he became acquainted with Counter-
                                           22   defendants. See Second Makous Dec., ¶¶ 6.D and 6.E (Doc. No. 28-3, pp. 5-6).
                                           23   Riener himself vacillates on the nature of his role, claiming on the one hand he
                                           24   had an “integral role” with the vessel documentation business (see Doc. No. 28-4,
                                           25   p. 142, lns. 17:20), yet he states in his August 1 declaration that he “did not have
                                           26   1
                                                 Riener cannot contradict these admissions in his opposition to this Motion. See Van Asdale v.
                                                Int’l Game Tech., 577 F.3d 989, 998 (9th Cir. 2009) (“[A] party cannot create an issue of fact
                                           27   by an affidavit contradicting his prior deposition testimony.”); accord Yeager v. Bowlin, 693
                                                F.3d 1076, 1080 (9th Cir. 2012) (citations omitted).
                                           28

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                                            1   access to the internal office workings of U.S. Vessel Documentation, Inc. [sic] I
                                            2   did not see their day-to-day operations. I did not hear their phone calls.”
                                            3   Declaration of Edward Riener, Doc. 21, p. 9, ¶ 26.
                                            4           The elements of a cause of action for breach of contract under California
                                            5   law are well established.         These are: “(1) the existence of the contract, (2)
                                            6   plaintiff’s performance or excuse for nonperformance, (3) defendant’s breach,
                                            7   and (4) the resulting damages to the plaintiff.”               Oasis West Realty, LLC v.
                                            8   Goldman, 51 Cal. 4th 811, 821 (2011). In order for acceptance of a proposal to
                                            9   result in the formation of a contract, the proposal “must be sufficiently definite, or
                                           10   must call for such definite terms in the acceptance, that the performance promised
                                                is reasonably certain.” Weddington Prods., Inc. v. Flick, 60 Cal. App. 4th 793,
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                                           12   811 (1998) (quoting 1 Witkin, Summary of Cal. Law, Contracts, § 145, p. 169).
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                                           13   A proposal “‘cannot be accepted so as to form a contract unless the terms of the
                                           14   contract are reasonably certain. . . . The terms of a contract are reasonably certain
                                           15   if they provide a basis for determining the existence of a breach and for giving an
                                           16   appropriate remedy.’” Id.
                                           17           Given this clear standard, Riener’s claim falls far short, as there is no
                                           18   certainty to any terms at all which could form the basis of the claim for a
                                           19   “partnership”.2
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                                                  It is worth pointing out that the only contractual relationship (now defunct) that Riener
                                                actually had with Counter-defendants was on a commission-basis for the “referrals of yacht
                                           26   sales clients.” See Second Makous Dec., ¶ 6.A, p. 3, lns. 7- 9 (Doc. No. 28-3, p. 3). Riener
                                                admitted that virtually all of the payments he received from Counter-defendants were for
                                           27   referrals for boat sales and other tasks unrelated to the documentation website. See id. at ¶ 6.A,
                                                p. 3, lns 14-17 (“There were a few leads that I did split 50/50 for him…with him”) (Doc. No.
                                           28   28-3, p. 3); see also Second Soria Dec., ¶ 23 (Doc. No. 28-1, pp. 8-9).

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                                            1                 2.      Riener’s Claims for Copyright Infringement, Intentional
                                                                      Interference with Prospective Economic Advantage, and
                                            2                         Declaratory Relief re: Ownership of Copyright all Fail
                                                                      (Third, Fourth and Sixth Claims for Relief)
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                                            4                         i.    There was no access and there is no substantial
                                                                      similarity between Counter-defendants’
                                            5                         uscgdocumentation.us website and the
                                                                      vesseldocumentation.us website.
                                            6

                                            7         Riener’s claim for copyright infringement fails for the simple reasons that
                                            8   there was no access by counter-defendants and there is no substantial similarity of
                                            9   protectable        content   between     Counter-defendants’     latest    website
                                           10   (uscgdocumentation.us) and the old, hijacked vesseldocumentation.us website.
                                                      As set forth in the accompanying Third Declaration of Danny Star (the
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                                           12   “Third Star Declaration”), Counter-defendants did not - and indeed, could not
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                                           13   have accessed - the old hijacked vesseldocumentation.us website when they were
                                           14   doing the emergency design of the new uscgdocumentation.us site, because
                                           15   Riener had shutdown vesseldocumentation.us to everyone, making it inaccessible
                                           16   during the time that counter-defendants independently created the new
                                           17   uscgdocumentation.us website. As such, there is lack of access here. See Sid &
                                           18   Marty Krofft Television Prods., Inc. v. McDonald’s Corp., 562 F.2d 1157, 1172
                                           19   (9th Cir.1977) (observing that proof of access requires “an opportunity to view or
                                           20   to copy plaintiff’s work”); see also Art Attacks Ink, LLC v. MGA Entm’t Inc., 581
                                           21   F.3d 1138, 1143 (9th Cir.2009) (requiring “a reasonable possibility, not merely a
                                           22   bare possibility”). Here, there was no such possibility.
                                           23         Additionally, there is no substantial similarity here.        “The test of
                                           24   infringement is whether the work is recognized by an ordinary observer as having
                                           25   been taken from the copyrighted source.” Bradbury v. Columbia Broadcasting
                                           26   System, Inc., 287 F.2d 478, 485 (9th Cir.), cert. dismissed, 368 U.S. 801, 82 S.Ct.
                                           27   19, 7 L.Ed.2d 15 (1961). “[T]here must be substantial similarity between the
                                           28   infringing work and the work copyrighted; and that similarity must have been

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                                            1   caused by the defendant's having copied the copyright holder's creation.” Roth
                                            2   Greeting Cards v. United Card Co., 429 F.2d 1106, 1110 (9th Cir. 1970)
                                            3   (emphasis added). There is no substantial similarity of protectable elements
                                            4   between the two sites; they were both created to automate the process of
                                            5   completing publicly-available government-issued forms and regulations from the
                                            6   National     Vessel         Documentation    Center’s      (“NVDC”)        website
                                            7   (https://www.uscg.mil/nvdc/default.asp) (see Third Star Decl., ¶ 5).         Such
                                            8   material is not protectable under copyright law. See , e.g., Veeck v. S. Bldg. Code
                                            9   Cong. Int’l, 293 F.3d 791 (5th Cir. 2002) (holding that every model code that has
                                           10   been adopted by a government entity is in the public domain; any person may
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                                           11   reproduce such a code, as adopted, for any purpose, including placing it on a
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                                           12   website).
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                                           13         Similarly, when information can only be expressed in a limited way – as is
                                           14   the case with the content contained on the new uscgdocumentation.us website - it
                                           15   is not protectable under copyright law pursuant to the doctrine of merger because
                                           16   there is only a limited way that such information can be conveyed. See Ets-Hokin
                                           17   v. Skyy Spirits, Inc., 225 F.3d 1068, 1082 (9th Cir. 2000) (holding that the merger
                                           18   doctrine “will not protect a copyrighted work from infringement if the idea
                                           19   underlying the copyrighted work can be expressed in only one way, lest there be a
                                           20   monopoly on the underlying idea”); CDN, Inc. v. Kapes, 197 F.3d 1256, 1261
                                           21   (9th Cir.1999) (similar).
                                           22         Finally, Riener’s contention that the website has the “same look and feel”
                                           23   as vesseldocumentation.us (Doc. No. 33, ¶ 26) is non-cognizable. See Media.net
                                           24   Adver. FZ-LLC v. NetSeer, Inc., 15. F. Supp. 3d 1052, 1062 (N.D. Cal. 2016)
                                           25   (confirming that the Copyright Office has determined that “[t]he layout, format,
                                           26   or ‘look and feel’ of a website” are “[e]xamples of uncopyrightable material”).
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                                            1                      ii.   Riener’s Copyright registration is invalid and his
                                                                   claim accordingly fails because he did not disclose a co-
                                            2                      author/designer as the vesseldocumentation.us website.
                                            3
                                                      Yesterday, June 04, 2017, Counter-defendants took the deposition of Allen
                                            4
                                                Larson – a co-designer of the vesseldocumentation.us website. In his deposition,
                                            5
                                                Larson admitted that Riener asked him to design the vesseldocumentation.us
                                            6
                                                website. See Fourth Declaration of David Makous (“Fourth Makous Decl.”), ¶ 3,
                                            7
                                                and Exh. 1 thereto, pp. 28-29, lines 16-25, 1 (Q: “Now, did you – do you know
                                            8
                                                there is [sic] two companies that Mr. Soria owned, U.S. Marine Surveyors and
                                            9
                                                U.S. Vessel Documentation? A: Yes. Q: Did you do work for both of them or just
                                           10
                                                one of them? A: Both. Q: Okay. A: Yeah. I designed – Q: You designed both
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                                           11
                                                Websites? A: Yes.” (emphases added)). Because Riener failed to disclose Allen
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                                                Larson as a co-author on the copyright application submitted to the Copyright
                                           13
                                                Office, Riener’s copyright infringement claim fails because the registration is
                                           14
                                                invalid. See Shady Records, Inc. v. Source Enters., No. 03-cv-9944, 2004 U.S.
                                           15
                                                Dist. LEXIS 26143, at *36 (S.D.N.Y. Dec. 30, 2004) (“[A] misrepresentation as
                                           16
                                                to the ownership of the copyright would clearly affect the ability of the Copyright
                                           17
                                                Office to properly register the copyright to a true owner. Courts have held that if
                                           18
                                                the misstatement goes toward true authorship affecting ownership, or true
                                           19
                                                ownership due to faulty assignments between author and copyright claimant, the
                                           20
                                                registration is invalid, where coupled with evidence of an intent to defraud.”).
                                           21

                                           22                      iii. Riener’s contentions fail because he is not the sole
                                                                   author of the copyright in vesseldocumentation.us as he
                                           23                      claims
                                           24
                                                      Riener’s claim of ownership of the vesseldocumentation.us website, which
                                           25
                                                was created by USVD at its direction and control, is without merit. The evidence
                                           26
                                                plainly demonstrates that Counter-defendants (USMS and USVD) directed and
                                           27
                                                controlled the buildout of the vesseldocumentation.us website. This is confirmed
                                           28
                                                by ample, indisputable evidence:
                                                                             8
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                                            1         1) USMS confirmed the availability of the vesseldocumentation.us domain
                                            2   name on its own and gave instructions to Riener to register the domain name on
                                            3   its behalf. See Second Soria Dec., ¶ 33 and Exh. 37 thereto (Doc. No. 28-1, pp.
                                            4   11-12; Doc. No. 28-2, pp. 13-15);
                                            5         2) USMS also paid Riener to do so and Riener did not deny receiving these
                                            6   payments. See id. at ¶ 23; (Doc. No. 28-1, pp. 8-9);
                                            7         3) Riener’s subsequent placement of copyright notices in multiple locations
                                            8   was done solely in the name of U.S. Vessel Documentation (see id., at ¶ 34; Doc.
                                            9   28-1, p. 12). This is contrary to any reasonable assertion of ownership by him;
                                           10   strangely, Riener admitted that he may have included Plaintiffs as co-authors in
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                                           11   his copyright registration application (see Second Makous Dec., ¶ 6.N, p. 11,
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                                           12   lines 25-28 (Doc. 28-3, p. 11)), which further undermines Riener’s claim that he
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                                           13   is the sole author.
                                           14         4)       Until the vesseldocumentation.us launch on July 17, 2015, Maria
                                           15         Carlos and John Soria provided to Riener all materials, content, ideas,
                                           16         logos, and formats to be loaded on the site. (First Decl. of John Soria, Doc.
                                           17         No. 15-3, p. 5);
                                           18         5)       In the fall of 2015, John Soria – on behalf of USMS – requested
                                           19         Riener to build a vessel documentation website to process vessel
                                           20         documentation. This website eventually became vesseldocumentation.us
                                           21         for counter-defendants’ vessel documentation business (Id., Doc. No. 15-3,
                                           22         p. 5);
                                           23         6)       In October 2015, on behalf of USMS, John Soria paid Riener cash to
                                           24         register the domain name and set up the vesseldocumentation.us. Once
                                           25         again, Riener assured John Soria that he understood his duties as an agent
                                           26         of USMS and would establish all registrations and web hosting accounts
                                           27         for the vesseldocumentation.us in USMS’s name (Id., Doc. No. 15-3, pp. 5-
                                           28         6);

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                                                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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                                            1       7)      On October 03, 2015 Riener registered vesseldocumentation.us for
                                            2       USMS and asked USMS to approve the site and emailed USMS the first
                                            3       pilot link to “vesseldocumentation.us” website. (Id. and Exh. 13 thereto,
                                            4       Doc. No. 15-3, p. 6; Doc. No. 15-4, p. 24);
                                            5       8)      On October 25, 2015 USMS emailed Riener detailed instructions,
                                            6       information and content and instructed him to load the content onto the
                                            7       vesseldocumentation.us website, along with a link to the selected NVDC
                                            8       forms (https://www.uscg.mil/nvdc) which are the publically available US
                                            9       Coast Guard vessel forms. (Id., and Exh. 14 thereto; Doc. No. 15-3, p. 6;
                                           10       Doc. No. 15-4, pp. 25-31);
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                                           11       9)      On February 18, 2016, John Soria incorporated in California, as the
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                                           12       sole owner, a new company on February 18, 2016 as “US Vessel
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                                           13       Documentation” (USVD). USMS gave USVD permission, through John
                                           14       Soria as President of both companies, to use all of the pertinent materials
                                           15       USMS had created before it was formed, including all domain names and
                                           16       business information and content (Id., Doc. No. 15-3, p. 7);
                                           17       10)     During the entire creation and launch of the USMS Website and
                                           18       vesseldocumentation.us     website, and       subsequent   management   and
                                           19       operation by USMS and its staff, Ms. Maria Carlos and Mr. John Soria, on
                                           20       behalf of USMS, actively directed, controlled and approved all design
                                           21       elements of the web content for these two websites. This was conducted
                                           22       orally, in person or by phone and via emails and texts (Doc. No. 15-3, pp.
                                           23       8-9);
                                           24       11)     John Soria, on behalf of USMS, instructed Riener to post copyright
                                           25       notices in the names “U.S. Marine Surveyors, Inc.” and, after he
                                           26       incorporated USVD in February 2016, its name, on the homepages on both
                                           27       websites. Riener never objected or ever asserted any ownership or control
                                           28

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                                                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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                                            1          of any of counter-defendants’ websites or businesses (Doc. No. 15-3, p. 9;
                                            2          Doc. No. 1-5).
                                            3          As is clearly demonstrated by the foregoing factors, Riener lacks any
                                            4   ownership interest in the vesseldocumentation.us web content.
                                            5   III.   CONCLUSION
                                            6
                                                       Therefore, Riener is not an author, and certainly not the sole author, of the
                                            7
                                                vesseldocumentation.us website, and thus counter-defendants have no liability for
                                            8
                                                his asserted claims. As such, for all the foregoing reasons, Counter-defendants
                                            9
                                                respectfully request that the Court grant summary judgment in its favor as to all
                                           10
                                                of Riener’s counterclaims.
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                                           11
   660 South Figueroa Street, Suite 2300




                                                                                       Respectfully submitted,
                                           12
       Los Angeles, California 90017




                                                DATED: June 5, 2017                    LEE, HONG, DEGERMAN, KANG
                                           13
                                                                                       & WAIMEY
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                                                                                       By:   /s/ David N. Makous
                                                                                             David N. Makous
                                           17                                                Navdeep K. Singh
                                                                                 Attorneys for Plaintiffs and Counter-Defendants,
                                           18
                                                                                 U.S. Marine Surveyors, Inc. and U.S. Vessel
                                           19                                    Documentation, and Counter-Defendant
                                                                                 John Soria
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                                                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
                                                                    SUMMARY JUDGMENT
